Prepared by and Return to:
Kevin C. Donaldson
Jones, Childers, Donaldson & Webb, PLLC
P.O. Box 3010
Mooresville, NC 28117



NORTH CAROLINA
IREDELL COUNTY                      AGREEMENT REGARDING JOINT ROADWAY &
                                    UTILITY EASEMENT, LAKEFRONT ACCESS
                                    EASEMENT, TEMPORARY GRADING &
                                    CONSTRUCTION EASEMENT, AND TEMPORARY
                                    ACCESS EASEMENT


        THIS AGREEMENT REGARDING JOINT ROADWAY & UTILITY EASEMENT,
LAKEFRONT ACCESS EASEMENT, TEMPORARY GRADING & CONSTRUCTION
EASEMENT, AND TEMPORARY ACCESS EASEMENT (this “Agreement”) made and
entered into to be effective this the ________ day of _________, 2017 (the “Effective
Date”), by and between LANGTREE PROPERTIES, LLC, a North Carolina limited
liability company (hereinafter referred to as “Langtree”) and JACQUELINE DOWDY
and GREGGORY GROVES AS SUCCESSOR TRUSTEES OF THE REVOCABLE
TRUST OF JOHN Q. HAMMONS DATED DECEMBER 28, 1989, AS AMENDED AND
RESTATED (hereinafter referred to as “Hammons”);


                                   WITNESSETH:
       THAT WHEREAS, Langtree is the owner in fee simple of that certain tract of land
located in Mooresville, North Carolina along and near Alcove Road and more
particularly described in Deed Book 1753 at Page 2303 in the office of the Register of
Deeds for Iredell County, North Carolina, as more particularly described on Exhibit A
attached hereto and incorporated herein by this reference (the “Langtree Property”); and

       WHEREAS, Hammons is the owner in fee simple of those certain tracts of land
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located in Mooresville, North Carolina along Alcove Road, adjoining the Langtree
Property, and being more particularly described in Deed Book 1650 at Page 497 and
Deed Book 1753 at Page 1125 in the office of the Register of Deeds for Iredell County,
North Carolina, as more particularly described on Exhibit B attached hereto and
incorporated herein by this reference (collectively, the “Hammons Property”); and

      WHEREAS, Langtree desires to develop the Langtree Property and, in
connection therewith, desires to construct a roadway along a common boundary line of
the Langtree Property and the Hammons Property, as well as a roadway along the
northern boundary of the Hammons Property, all for the joint use of the Langtree
Property and the Hammons Property (the “Joint Roadway”); and

       WHEREAS, both the Langtree Property and the Hammons Property will each
use and access the Joint Roadway which, when constructed, will leave the right-of way
of Alcove Road and run along the northern boundary of the Hammons Property and
across the common property line of the Langtree Property and Hammons Property; and

       WHEREAS, the parties to this agreement hereby agree that it is in their mutual
interests that said Joint Roadway be for the common use of the Langtree Property and
Hammons Property; and

      NOW, THEREFORE, for and in consideration of the mutual promises and
covenants herein and other valuable consideration, the receipt and sufficiency of which
are hereby acknowledged, the parties do hereby agree as follows:
       1.      Grant of Joint Roadway and Utility Easement. The parties hereto
mutually agree, and by their signature hereto hereby grant, bargain and convey to each
other, theirs successors and assigns, a perpetual, non-exclusive right, privilege and
easement, as an appurtenance to, for the benefit of and running with the Hammons
Property and Langtree Property, respectively, to provide ingress, egress and regress,
and to allow for the constructing, reconstructing, inspecting, maintaining, using, and
repairing underground utility lines and facilities for water, sewer, telecommunications,
natural gas, and electric, which easement rights and privileges shall commence
immediately upon the recording of this Agreement to both the Langtree Property and
Hammons Property, a “Joint Roadway and Utility Easement”, for all of the purposes set
forth above, as depicted on the survey attached hereto as Exhibit C, and more
particularly described on Exhibit D.
        2.     Lakefront Access Easement. Langtree hereby grants to Hammons, its
successors and assigns, licensees, employees and invitees, a perpetual, non-exclusive
right, privilege and easement for pedestrian access, ingress and egress to and from
Lake Norman over and across the Langtree Property and all sidewalks, boardwalks and
pathways located on the Langtree Property (the “Lakefront Access Easement”). The
boardwalk located on the Langtree Property is depicted on Exhibit E attached hereto
and incorporated herein. The Lakefront Access Easement shall be for the benefit of and
run with the Hammons Property.

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       3.     Temporary Grading and Construction Easement. Hammons hereby
grants to Langtree, its successors and assigns, a temporary grading and construction
easement along the Joint Roadway described above and twenty-five (25) feet on the
Hammons side of the Joint Roadway, as depicted on Exhibit C attached hereto and
incorporated herein, for the purpose of constructing and installing utilities and the
roadway within the Joint Roadway described above (the “Temporary Construction
Easement”). The Temporary Construction Easement shall terminate upon completion
of construction of the Joint Roadway and Utility Easement described in Paragraph 1,
above, but in no event later than thirty-six (36) months from the date of execution of this
Agreement. The Temporary Construction Easement is more particularly described on
Exhibit F.

        4.    Temporary Access Easement. Hammons hereby grants to Langtree, its
successors and assigns a temporary access easement twenty (20) feet in width, along
the gravel access road running along the Hammons Property as set forth on Exhibit C
attached hereto and incorporated herein running from Alcove Road to the Langtree
Property (the “Temporary Access Easement”, and collectively with the Temporary
Construction Easement, the Lakefront Access Easement and the Joint Roadway and
Utility Easement, the “Easements”)). The Temporary Access Easement shall terminate
upon the completion of construction of the Joint Roadway and Utility Easement
described in Paragraph 1, above, but in no event later than thirty-six (36) months from
the date of execution of this Agreement, and Langtree agrees to waive any and all rights
in and to the Temporary Access Easement thereafter. The Temporary Access
Easement is more particularly described on Exhibit G.

        5.     Maintenance of Easements. Langtree and its successors and assigns
shall be solely responsible for the construction, repair, maintenance, and replacement
costs and expenses associated with the Easements and agrees to maintain the same
and the improvements located thereon in good condition and repair for so long as the
Easements continue to exist. However, Langtree shall not be responsible for any
repair, maintenance and/or replacement costs and expenses that become necessary as
the result of any action, construction or damage caused by Hammons or its agents,
contractors, successors or assigns. Hammons and its successors and assigns shall be
solely responsible for such costs and expenses. Langtree’s obligation to maintain such
Easements shall continue until such time that the Easements are dedicated to and
expressly assumed by a governing municipality, at which point, Langtree’s maintenance
obligations shall cease. Langtree agrees that if Langtree fails to perform any of its
maintenance obligations hereunder and such non-performance continues for a period of
thirty (30) days following receipt of written notice thereof, Hammons shall have the right,
but not the obligation, to perform such work on behalf of Langtree, and in such event,
Langtree shall reimburse Hammons upon demand for the out-of-pocket costs actually
expended by Hammons in connection with the performance of such work. Any such
amounts remaining owing and unpaid shall be a lien on the Langtree Property in favor
of Hammons.


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        6.    Perpetual and Non-Exclusive Easement. Except as otherwise provided
in this Agreement and except for the Temporary Construction Easement and Temporary
Access Easement granted herein which shall terminate no later than thirty-six (36)
months from the date of execution of this Agreement, the Easements granted herein are
and shall be permanent, non-exclusive, and perpetual. All covenants and provisions of
this Agreement shall be deemed to run with the land and shall run with and burden the
properties affected thereby for the respective benefit of the Langtree Property and the
Hammons Property, as stated herein. All covenants and provisions of this Agreement
shall be binding upon and inure to the benefit of the parties hereto and their respective
successors, successors-in-title, assigns and legal representatives.

       7.     Indemnification. Langtree shall indemnify, defend, and hold Hammons
and its successors and assigns, employees, agents, contractors, invitees, visitors and
guests harmless for any and all claims, liabilities, damages, injury, and causes of action
whatsoever, including, but not limited to reasonable attorneys’ fees, costs and expenses
arising out of or caused by the acts of Langtree, or anyone claiming by, through or
under Langtree, with respect to the exercise of the rights and privileges granted herein.
       .
       8.     Insurance. At all times during the term of the Easements, Langtree shall
continuously maintain, at its expense, (i) a policy of commercial general liability
insurance in an aggregate sum of not less than Two Million and No/100 Dollars
($2,000,000.00) (or such greater amount as shall reasonably be determined by
Hammons in its sole discretion) combined single limit insuring against bodily injury or
property damage occurring on or arising from the use by Langtree, its successors,
assigns, employees or agents of the Easements granted herein, and (ii) builder’s risk
insurance during all periods of construction. Said insurance shall name Hammons as
an additional insured.

       9.    Amendment. This Agreement may be modified, amended or terminated
by the recording of an agreement of modification, amendment or termination executed
by the current owners from time to time of the Langtree Property and the Hammons
Property.

      10.    Governing Law. This Agreement is to be governed, construed and
enforced in accordance with the laws of the State of North Carolina.

TO HAVE AND TO HOLD the rights and easements hereby granted to the respective
parties to this Agreement and their successors in title forever, it being agreed that the
rights and easements hereby granted are for the uses described herein as located on
the respective properties and said rights and easements are to run with the properties of
Langtree and Hammons as more particularly described hereinabove.




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      IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
executed this _____day of _____________, 2017.


LANGTREE PROPERTIES, LLC,
a North Carolina limited liability company


By: Land Acquisition and Investments, LLC
Its: Manager

By: _______________________________
    Richard W. Howard, Manager


JACQUELINE DOWDY and GREGGORY
GROVES AS SUCCESSOR TRUSTEES OF THE
REVOCABLE TRUST OF JOHN Q. HAMMONS
DATED DECEMBER 28, 1989, AS AMENDED
AND RESTATED

By: ____________________________
    Jacqueline Dowdy, Successor Trustee

By: ____________________________
    Greggory Groves, Successor Trustee



STATE OF NORTH CAROLINA
COUNTY OF IREDELL

I, certify that the following persons, who are known to me or proved to me on the basis of
satisfactory evidence to be the persons described, personally appeared before me this
day; each acknowledging to me that they voluntarily signed the foregoing document for
the purpose stated therein and in the capacity indicated: Richard W. Howard, Manager
of Land Acquisition and Investments, LLC, Manager of Langtree Properties, LLC, a
North Carolina limited liability company.

Date:______________               ______________________________________
                                  _________________________, Notary Public
(Official Seal)                   My commission expires: ________________




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STATE OF ____________
COUNTY OF __________

I, certify that the following persons, who are known to me or proved to me on the basis of
satisfactory evidence to be the persons described, personally appeared before me this
day; each acknowledging to me that they voluntarily signed the foregoing document for
the purpose stated therein and in the capacity indicated: Jacqueline Dowdy, as
Successor Trustee of the Revocable Trust of John Q. Hammons dated December
28, 1989, as amended and restated.

Date:______________               ______________________________________
                                  _________________________, Notary Public
(Official Seal)                   My commission expires: _______________




STATE OF ____________
COUNTY OF __________

I, certify that the following persons, who are known to me or proved to me on the basis of
satisfactory evidence to be the persons described, personally appeared before me this
day; each acknowledging to me that they voluntarily signed the foregoing document for
the purpose stated therein and in the capacity indicated: Greggory Groves, as
Successor Trustee of the Revocable Trust of John Q. Hammons dated December
28, 1989, as amended and restated.

Date:______________               ______________________________________
                                  _________________________, Notary Public
(Official Seal)                   My commission expires: ________________




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                EXHIBIT A – DESCRIPTION OF LANGTREE PROPERTY


Lying in Davidson Township, Iredell County, North Carolina:

BEGINNING at a point in the line of that certain 4 acre tract conveyed to John Q.
Hammons, Trustee of the John Q. Hammons Revocable Trust dated December 28, 1989,
recorded in Book 1753, Page 1125, Iredell County Registry, said point lying North 78-41-
18 West 124.03 feet from a set #5 rebar lying in the margin of the right of way for Alcove
Road, said rebar having coordinates of N:654942.939 feet and E:1446137.714 feet NAD
83/2011 GRID; and running with a new line of Langtree Properties South 11-18-42 West
399.31 feet to a point in the northern margin of Wade’s Way; thence with the northern
margin of Wade’s Way as follows: (1) South 85-43-16 East 98.44 feet to a found #5 rebar;
and (2) on a curve to the left, said curve having a radius of 30.00 feet for an arc length of
43.44 feet and a chord bearing of South 52-47-43 West 39.74 feet to a point in the western
margin of the right of way for Alcove Road; thence with the western margin of the right of
way for Alcove Road South 11-18-42 West 97.55 feet to a set #5 rebar in the southern
margin of the right of way for Wades Way; thence with the southern margin of Wades Way
the following courses and distances: (1) on a curve to the left, said curve having a radius
of 30.00 feet for an arc length of 42.60 feet and a chord bearing of North 45-02-44 West
39.11 feet to a point; (2) North 85-43-16 West 17.69 feet to a found #5 rebar (bent) and (3)
North 85-43-16 West 255.40 feet to a point; thence crossing Wades Way North 04-16-44
East 45.00 feet to a point in the northern margin of the right of way for Wades Way; thence
with five new lines of Langtree Properties, LLC as follows: (1)North 45-36-01 West 80.01
feet to a point; (2) North 54-19-53 West 40.04 feet to a point; (3) North 20-24-25 West
36.94 feet to a point; (4) North 85-31-07 West 21.02 feet to a point; and (5) North 66-58-38
West 56.05 feet to a found #4 rebar at a common corner with Dale Investments, LLC (see
Book 2121, Page 288) said rebar lying in the southern margin of Tax Parcel 4645-54-3773
owned by Langtree Properties LLC (see Book 2085, Page 711); thence with the southern
margin of said parcel as follows: (1) North 75-57-51 West 105.24 feet to a point; (2) South
04-17-51 East 26.39 feet to a point; and (3) South 89-34-00 West 371.16 feet to a found
#4 rebar at a common corner with Tax Parcel No. 4546-54-0931; thence with said tax
parcel as follows: (1) South 89-34-00 West 120.69 feet to a point, a common corner with
Lot 5 as set forth on Plat Book 20, Page 78; (2) North 06-57-16 West 357.16 feet to a
found #4 rebar located in the 760 contour elevation line of Lake Norman; thence with the
contour elevation line of Lake Norman the following courses and distances: (1) North 69-
21-30 East 11.10 feet to a set #5 rebar; (2) South 73-52-32 East 74.97 feet to a point; (3)
North 39-07-45 East 55.95 feet to a found #4 rebar (4) North 39-07-45 East 42.58 feet to a
set #5 rebar; (5) North 33-46-57 East 66.10 feet to a set #5 rebar; (6) North 86-56-57 East
71.90 feet to a set #5 rebar; (7) South 87-10-03 East 127.10 feet to a set #5 rebar; (8)
South 84-20-03 East 81.40 feet to a set #5 rebar; (9) South 23-34-03 East 310.80 feet to a
set #5 rebar; (10) North 78-36-57 East 50.40 feet to a set #5 rebar; (11) North 23-17-03
West 466.80 feet to a set #5 rebar; (12) North 19-59-57 East 149.90 feet to a set #5 rebar;
(13) North 60-42-57 East 60.30 feet to a set #5 rebar; (14) North 36-24-57 East 67.80 feet
to a set #5 rebar; (15) North 49-57-03 West 64.70 feet to a point; (16) North 13-34-57 East
92.30 feet to a point; (17) North 73-39-57 East 102.90 feet to a set #5 rebar; (18) North 47-



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11-57 East 70.20 feet to a set #5 rebar; (19) North 58-31-57 East 57.40 feet to a set #5
rebar; (20) South 63-31-03 East 74.70 feet to a set #5 rebar; (21) North 88-02-57 East
61.60 feet to a point; (22) South 77-39-03 East 85.04 feet to a found 1” pipe at a common
corner with Marie Locklear Watts (see Book 654, Page 626); thence with the Watts line
South 09-40-24 East 46.77 feet to a 1.0” existing iron pipe, a common corner with John Q.
Hammons Revocable Trust (see Book 1753, Page 1125); thence with four lines of
Hammons as follows: (1) South 55-53-47 West 241.00 feet to a set #5 rebar; (2) South
18-17-43 West 158.04 feet to a set #5 rebar; (3) South 09-45-44 East 401.58 feet to a set
#5 rebar and (4) South 78-41-18 East 275.97 feet to the point and place of Beginning, the
same containing 14.060 acres, more or less, all in accordance with that certain survey
prepared by Jimmy N. Faires, PLS dated April 13, 2015.




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              EXHIBIT B – DESCRIPTION OF HAMMONS PROPERTY

Parcel I:




Parcel 2:




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                  EXHIBIT C – SURVEY



                    SEE ATTACHED




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    EXHIBIT D – DESCRIPTION OF JOINT ROADWAY AND UTILITY EASEMENT


50 FT. JOINT ROADWAY AND UTILITY EASEMENT:

BEGINNING at a found #4 rebar (disturbed) located in the western margin of Alcove
Road (SR 1206) at a common corner with Marie Locklear Watts (See Deed Book 654,
Page 626) and John Q. Hammons Revocable Trust (See Deed Book 1650, Page 497
and Plat Book 56, Page 126) and running thence the following 17 courses and
distances: 1) North 89-16-44 West 362.18 feet to a found 1” pipe; 2) on a curve to the
left said curve having a radius of 225.00 feet for an arc distance of 107.08 feet with a
chord bearing of South 69-31-43 West 106.07 feet to a point; 3) South 55-53-47 West
66.36 feet to a point; 4) on a curve to the left said curve having a radius of 225.00 feet
for an arc distance of 147.70 feet with a chord bearing of South 37-06-05 West 145.06
feet to a point; 5) South 18-17-43 West 39.98 feet to a point; 6) on a curve to the left
said curve having a radius of 225.00 feet for an arc distance of 110.18 feet with a chord
bearing of South 04-16-00 West 109.08 feet to a point; 7) South 09-45-44 East 341.98
feet to a point; 8)South 78-41-18 East 26.79 feet to a #5 rebar found; 9) South 78-41-18
East 26.79 feet to a point; 10) North 09-45-44 West 361.24 feet to a point; 11) on a
curve to the right said curve having a radius of 175.00 feet for an arc distance of 85.70
feet with a chord bearing of North 04-16-00 East 84.84 feet to a point; 12)North 18-17-
43 East 39.98 feet to a point; 13) on a curve to the right said curve having a radius of
175.00 feet for an arc distance of 114.85 feet with a chord bearing of North 37-05-46
East 112.80 feet to a point; 14) North 55-53-47 East 66.41 feet to a point; 15) on a
curve to the right said curve having a radius of 175.00 feet for an arc distance of 106.37
feet with a chord bearing of North 73-18-31 East 104.74 feet to a point; 16) South 89-
16-44 East 326.04 feet to a point; 17) North 11-18-42 East 50.87 feet to the point and
place of Beginning and being designated as that certain “Proposed 50’ Joint Roadway
and Utility Easement Area” shown on survey prepared by Jimmy N. Faires, PLS dated
July 15, 2017.




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EXHIBIT E – SITE PLAN MARKED WITH LAKEFRONT ACCESS EASEMENT




                         SEE ATTACHED




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    EXHIBIT F – DESCRIPTION OF TEMPORAY GRADING AND CONSTRUCTION
                                EASEMENT

25 FT. TEMPORARY GRADING AND CONSTRUCTION EASEMENT:

TO LOCATE THE BEGINNING POINT begin at a found #4 rebar (disturbed) located in
the western margin of the right of way for Alcove Road (SR 1206) at a common corner
with Marie Locklear Watts (See Deed Book 654, Page 626) and John Q. Hammons
Revocable Trust (See Deed Book 1650, Page 497 and Plat Book 56, Page 126) and
running thence with the western margin of the right of way of Alcove Road (SR 1206)
South 11-18-42 West 50.87 feet to the Point and Place of Beginning; thence running
from said Beginning Point the following 18 courses and distances: 1) South 11-18-42
West 25.43 feet to a point; 2) North 89-16-52 West 323.26 feet to a point; 3) on a curve
to the left said curve having a radius of 150.00 feet for an arc distance 89.28 feet with a
chord bearing of South 72-56-54 West 87.97 feet to a point; 4) South 55-53-47 West
66.41 feet to a point; 5) on a curve to the left said curve having a radius of 150.00 feet
for an arc distance of 98.44 feet with a chord bearing of South 37-05-45 West 96.68 feet
to a point; 6) South 18-17-43 West 39.98 feet to a point; 7) on a curve to the left said
curve having a radius of 150.00 feet for an arc distance of 61.14 feet with a chord
bearing South 06-37-04 West 60.72 feet to a point; 8) on a curve to the left said curve
having a radius of 150.00 feet for an arc distance of 12.31 feet with a chord bearing
South 07-24-40 East 12.31 feet to a point; 9) South 09-45-44 East 10.77 feet to a point;
10) South 09-45-44 East 360.11 feet to a point; 11) North 78-41-18 West 26.79 feet to a
point; 12) N 09-45-44 West 361.24 feet to a point; 13) on a curve to the right said curve
having a radius of 175.00 feet for an arc distance of 85.70 feet with a chord bearing of
North 04-16-00 East 84.84 feet to a point; 14) North 18-17-43 East 39.98 feet to a point;
15) on a curve to the right said curve having a radius of 175.00 feet for an arc distance
of 114.85 feet with a chord bearing of North 37-05-46 East 112.80 feet to a point; 16)
North 55-53-47 East 66.41 feet to a point; 17) on a curve to the right said curve having a
radius of 175.00 feet for an arc distance of 106.37 feet with a chord bearing of North 73-
18-31 East 104.74 feet to a point; 18) South 89-16-44 East 326.04 feet to the point and
place of Beginning and being designated as that certain “Proposed 25’ Temporary
Grading and Construction Easement Area” shown on survey prepared by Jimmy N.
Faires, PLS dated July 15, 2017.




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         EXHIBIT G – DESCRIPTION OF TEMPORAY ACCESS EASEMENT


20 FT. TEMPORARY ACCESS EASEMENT:

TO LOCATE THE BEGINNING POINT begin at a found #4 with grid coordinates N:
654942.939 ft. E: 1446137.714 ft. NAD 83/2011 located in the western margin of the
right of way for Alcove Road (SR 1206) at a common corner of Langtree Properties,
LLC (See Deed Book 1753, Page 2303) and John Q. Hammons Revocable Trust (See
Deed Book 1753, Page 1125) and running thence with the western margin of the right of
way for Alcove Road (SR1206) North 11-18-42 East 250.69 feet to the Point and Place
of Beginning; thence running from said Beginning Point the following 15 courses and
distances: 1) North 11-18-42 East 20.02 feet to a point; 2) North 76-09-41 West 99.65
feet to a point; 3) North 83-30-43 West 57.05 feet to a point; 4) North 84-03-29 West
104.18 feet to a point; 5) North 72-43-22 West 67.67 feet to a point; 6) North 48-21-31
West 136.79 feet to a point; 7) North 47-42-55 West 44.58 feet to a point; 8) North 46-
02-46 West 68.85 feet to a point; 9) South 18-17-43 West 22.19 feet to a found #4
rebar; 10) South 46-02-46 East 72.05 feet to a point; 11) South 48-21-31 East 173.70
feet to a point; 12) South 72-43-22 East 73.97 feet to a point; 13) South 84-03-29 East
106.07 feet to a point; 14) South 83-30-43 East 55.67 feet to a point; 15) South 76-09-
41 East 99.25 feet to the point and place of Beginning and being designated as that
certain “Proposed 20’ Temporary Access Easement Area” shown on survey prepared
by Jimmy N. Faires, PLS dated July 15, 2017.




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